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1    McGREGOR W. SCOTT
     United States Attorney
2    PHILIP A. FERRARI
     ELLEN V. ENDRIZZI
3    Assistant United States Attorney
     501 I Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2744
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8
                       IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
     UNITED STATES OF AMERICA,         )       Case. No. CR-S-05-290 WBS
13                                     )
                     Plaintiff,        )
14                                     )       REQUEST THAT GOVERNMENT MOTION
                                       )       BE FILED UNDER SEAL AND ORDER
15         v.                          )
                                       )
16   JESUS CASTILLO FLORES,            )
                                       )       Hon. William B. Shubb
17                   Defendant.        )
                                       )
18                                     )
19
20         On August 23, 2006, the parties came before this Court for
21   Judgement and Sentencing of defendant Jesus Castillo Flores.           In
22   connection with that proceeding, the government submitted to the
23   Court a letter which made a motion on the defendant’s behalf
24   pursuant to U.S.S.G. §5K1.1.      Due to the sensitive nature of the
25   ///
26   ///
27   ///
28   ///


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             Case 2:05-cr-00290-WBS Document 163 Filed 09/06/06 Page 2 of 2


1    information contained within that letter, the government requests
2    that it be filed under seal.
3
     DATED: September 1, 2006                    McGREGOR W. SCOTT
4                                                United States Attorney
5
                                          By:     /s/ Philip A. Ferrari
6                                                PHILIP A. FERRARI
                                                 Assistant U.S. Attorney
7
8
          IT IS HEREBY ORDERED that:
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          Good cause being shown, the letter dated August 21, 2006 and
10
     submitted by the government on behalf of defendant Jesus Castillo
11
     Flores pursuant to U.S.S.G. §5K1.1, shall be returned to the United
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     States Attorney upon the condition that it be made available in the
13
     event that it is needed for any appeal or post trial motion.
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          IT IS SO ORDERED.
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17   Date:    September 5, 2006
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